                    THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                            EASTERN DIVISION


HUMAN RIGHTS DEFENSE CENTER,
a not-for-profit corporation,                                               PLAINTIFF


VERSUS                                        CIVIL ACTION NO. 2:18-cv-184-KS-MTP


FORREST COUNTY, MISSISSIPPI;
BILLY MCGEE, Sheriff, individually and in his
Official capacity; and JOHN AND JANE DOES
1-10, Staff, individually and in their official capacities,               DEFENDANT

                SHERIFF BILLY MCGEE AND FORREST COUNTY,
              MISSISSIPPI’S ANSWER TO PLAINTIFF’S COMPLAINT

       Come now, Sheriff Billy McGee and Forrest County, Mississippi, by and through

counsel, and in response to Plaintiff’s Complaint would show unto the Court as follows:

                                     FIRST DEFENSE

       Plaintiff’s Complaint fails to state a cause of action upon which any relief can be

granted and, therefore, the same should be dismissed pursuant to Fed. R. Civ. P.

12(b)(6).

                                   SECOND DEFENSE

       Plaintiff’s Complaint fails to state facts against the answering defendants which

would rise to the level of a constitutional or statutory deprivation under the laws of the

United States, the Constitution of the United States, the laws of Mississippi or the

Constitution of Mississippi.
                                     THIRD DEFENSE

       Answering defendants specifically assert and invoke all defenses available to

them as set forth in Fed. R. Civ. P. 12(b)(1) through 12(b)(7) for which a good faith legal

and/or factual basis exists or may exist.

                                     FOURTH DEFENSE

       Sheriff McGee is entitled to qualified immunity as to the claims asserted against

him in his individual capacity. More specifically, Sheriff McGee would affirmatively

aver that the Plaintiff’s Complaint fails to allege a violation of a clearly established

constitutional right and that, at all times, his conduct was objectively reasonable under

the circumstances.

                                      FIFTH DEFENSE

       Answering defendants deny that they have been guilty of any actionable

conduct.

                                     SIXTH DEFENSE

                            ADMISSIONS AND DENIALS

       And now, without waiving any defenses heretofore or hereinafter set forth,

answering defendants would respond to the allegations of Plaintiff’s Complaint,

paragraph by paragraph, as follows:

                                I.     INTRODUCTION

       1.     Answering defendants deny the allegations of paragraph 1 of Plaintiff’s

Complaint, as stated.




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                         II.      JURISDICTION AND VENUE

      2.     Without waiving any limitations, restrictions or immunities, answering

defendants admit this Court has jurisdiction over this matter. Answering defendants

deny the remaining allegations of paragraph 2 of Plaintiff’s Complaint.

      3.     Without waiving any limitations, restrictions or immunities, answering

defendants admit that venue is proper in this matter. Answering defendants deny the

remaining allegations of paragraph 3 of Plaintiff’s Complaint.

      4.     Answering defendants would state that 42 U.S.C. § 1983 speaks for itself.

Answering defendants deny the remaining allegations of paragraph 4 of Plaintiff’s

Complaint.

      5.     Without waiving any limitations, restrictions or immunities, answering

defendants admit this Court has jurisdiction over this matter. Answering defendants

deny the remaining allegations of paragraph 5 of Plaintiff’s Complaint.

      6.     Answering defendants would state that 42 U.S.C. § 1988 speaks for itself.

Answering defendants deny the remaining allegations of paragraph 6 of Plaintiff’s

Complaint.

                                      III.    PARTIES

      7.     Answering         defendants    lack   information   sufficient   to   make   a

determination as to the truth of the allegations of paragraph 7 of Plaintiff’s Complaint

and, as such, deny the same.

      8.     Answering defendants admit that Forrest County, Mississippi is a political

subdivision of the State of Mississippi. Answering defendants deny the remaining

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allegations of paragraph 8 of Plaintiff’s Complaint.

      9.     Answering defendants admit that Sheriff Billy McGee, at all times relevant

to Plaintiff’s claims, was the duly-elected Sheriff of Forrest County, Mississippi and that

he is the “final policymaker” for the County Jail. Answering defendants deny the

remaining allegations of paragraph 9 of Plaintiff’s Complaint.

      10.    Answering defendants deny the allegations of paragraph 10 of Plaintiff’s

Complaint.

      11.    Answering defendants admit that they were acting under “color of state

law” at all times relevant to Plaintiff’s claims. Answering defendants deny the

remaining allegations of paragraph 11 of Plaintiff’s Complaint.

      12.    Answering defendants admit that they were acting within the course and

scope of their employment. Answering defendants deny the remaining allegations of

paragraph 12 of Plaintiff’s Complaint.

                           IV.    FACTUAL ALLEGATIONS

      A.     HRDC’s Mission and Outreach to Detention Facilities

      13.    Answering      defendants    lack   information     sufficient   to   make   a

determination as to the truth of the allegations of paragraph 13 of Plaintiff’s Complaint

and, as such, deny the same.

      14.    Answering      defendants    lack   information     sufficient   to   make   a

determination as to the truth of the allegations of paragraph 14 of Plaintiff’s Complaint

and, as such, deny the same.



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      15.     Answering    defendants    lack   information    sufficient   to   make    a

determination as to the truth of the allegations of paragraph 15 of Plaintiff’s Complaint

and, as such, deny the same.

      16.     Answering    defendants    lack   information    sufficient   to   make    a

determination as to the truth of the allegations of paragraph 16 of Plaintiff’s Complaint

and, as such, deny the same.

      17.     Answering defendants admit, upon information and belief, the HRDC

publishes the Prison Legal News. Answering defendants lack information sufficient to

make a determination as to the truth of the remaining allegations of paragraph 17 of

Plaintiff’s Complaint and, as such, deny the same.

      18.     Answering defendants admit, upon information and belief, HRDC

publishes Criminal Legal News. Answering defendants lack information sufficient to

make a determination as to the truth of the remaining allegations of paragraph 18 of

Plaintiff’s Complaint and, as such, deny the same.

      19.     Answering    defendants    lack   information    sufficient   to   make    a

determination as to the truth of the allegations of paragraph 19 of Plaintiff’s Complaint

and, as such, deny the same.

      20.     Answering    defendants    lack   information    sufficient   to   make    a

determination as to the truth of the allegations of paragraph 20 of Plaintiff’s Complaint

and, as such, deny the same.

      B.    Defendants’ Unconstitutional Publications and Mail Policies and Practices

      21.     Answering defendants deny the allegations of paragraph 21 of Plaintiff’s

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Complaint.

      22.    Answering defendants deny the allegations of paragraph 22 of Plaintiff’s

Complaint.

      23.    Answering     defendants    lack   information    sufficient   to   make   a

determination as to the truth of the allegations of paragraph 23 of Plaintiff’s Complaint

and, as such, deny the same.

      24.    Answering defendants deny the allegations of paragraph 24 of Plaintiff’s

Complaint.

      25.    Answering defendants deny the allegations of paragraph 25 of Plaintiff’s

Complaint.

      26.    Answering defendants deny the allegations of paragraph 26 of Plaintiff’s

Complaint.

      27.    Answering defendants deny the allegations of paragraph 27 of Plaintiff’s

Complaint.

      28.    Answering defendants deny the allegations of paragraph 28 of Plaintiff’s

Complaint.

      29.    Answering defendants deny the allegations of paragraph 29 of Plaintiff’s

Complaint.

      30.    Answering     defendants    lack   information    sufficient   to   make   a

determination as to the truth of the allegations of paragraph 30 of Plaintiff’s Complaint

and, as such, deny the same.



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       31.    Answering defendants deny the allegations of paragraph 31 of Plaintiff’s

Complaint.

       32.    Answering defendants deny the allegations of paragraph 32 of Plaintiff’s

Complaint.

       33.    Answering defendants deny the allegations of paragraph 33 of Plaintiff’s

Complaint.

       34.    Answering defendants deny the allegations of paragraph 34 of Plaintiff’s

Complaint.

                                      V. CLAIMS

                               Count I - 42 U.S.C. § 1983
                     Violation of the First Amendment (Free Speech)

       35.    Answering defendants repeat and incorporate by reference each and

every defense, admission, objection, and denial to paragraphs 1 - 34 as if the same were

specifically set out herein.

       36.    Answering defendants deny the allegations of paragraph 36 of Plaintiff’s

Complaint.

       37.    Answering defendants deny the allegations of paragraph 37 of Plaintiff’s

Complaint.

       38.    Answering defendants deny the allegations of paragraph 38 of Plaintiff’s

Complaint.

       39.    Answering defendants deny the allegations of paragraph 39 of Plaintiff’s

Complaint.


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       40.    Answering defendants deny the allegations of paragraph 40 of Plaintiff’s

Complaint.

                                Count II - 42 U.S.C. § 1983
                Violation of the First Amendment (Establishment Clause)

       41.    Answering defendants repeat and incorporate by reference each and

every defense, admission, objection, and denial to paragraphs 1 - 40 as if the same were

specifically set out herein.

       42.    Answering defendants deny the allegations of paragraph 42 of Plaintiff’s

Complaint.

       43.    Answering defendants deny the allegations of paragraph 43 of Plaintiff’s

Complaint.

       44.    Answering defendants deny the allegations of paragraph 44 of Plaintiff’s

Complaint.

       45.    Answering defendants deny the allegations of paragraph 45 of Plaintiff’s

Complaint.

       46.    Answering defendants deny the allegations of paragraph 46 of Plaintiff’s

Complaint.

       47.    Answering defendants deny the allegations of paragraph 47 of Plaintiff’s

Complaint.

                                Count III - 42 U.S.C. § 1983
                  Violation of the Fourteenth Amendment (Due Process)

       48.    Answering defendants repeat and incorporate by reference each and

every defense, admission, objection, and denial to paragraphs 1 - 47 as if the same were

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specifically set out herein.

       49.    Answering defendants deny the allegations of paragraph 49 of Plaintiff’s

Complaint.

       50.    Answering defendants deny the allegations of paragraph 50 of Plaintiff’s

Complaint.

       51.    Answering defendants deny the allegations of paragraph 51 of Plaintiff’s

Complaint.

       52.    Answering defendants deny the allegations of paragraph 52 of Plaintiff’s

Complaint.

       53.    Answering defendants deny the allegations of paragraph 53 of Plaintiff’s

Complaint.

       54.    Answering defendants deny the allegations of paragraph 54 of Plaintiff’s

Complaint.

                               VI.   REQUEST FOR RELIEF

       55.    Answering defendants deny the allegations of paragraph 55 of Plaintiff’s

Complaint.

       56.    Answering defendants deny the allegations of paragraph 56 of Plaintiff’s

Complaint.

       57.    Answering defendants deny the allegations of paragraph 57 of Plaintiff’s

Complaint.

       58.    Answering defendants deny the allegations of paragraph 58 of Plaintiff’s

Complaint.

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      59.    Answering defendants deny the allegations of paragraph 59 of Plaintiff’s

Complaint.

      60.    Answering defendants deny the allegations of paragraph 60 of Plaintiff’s

Complaint.

      61.    Answering defendants deny the allegations of paragraph 61 of Plaintiff’s

Complaint.

                                VI.    JURY DEMAND

      Answering defendants deny the allegations contained in the unnumbered

paragraph that begins with “[P]laintiff, Human Rights Defense Center. […].”

                                 SEVENTH DEFENSE

      Answering defendants deny each and every material allegation of the Complaint

by which Plaintiff seeks to impose liability upon it and deny they have been guilty of

any actionable conduct.

                                  EIGHTH DEFENSE

      Plaintiff lacks standing to challenge the alleged violation(s).

                                   NINTH DEFENSE

      Answering defendants aver that Plaintiff’s claims are barred by the applicable

statute of limitations, res judicata, collateral estoppel, laches, waiver, contributory

negligence, accord and satisfaction, lack of standing, release, assumption of risk and/or

estoppel.




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                                    TENTH DEFENSE

       Answering defendants are protected by and invokes all the immunities granted

by judicial, common law, and statutory sovereign immunity.

                                  ELEVENTH DEFENSE

       Answering defendants allege that they have met or exceeded the requirements of

law and due care and that they are guilty of no acts or omissions which either caused or

contributed to the incident in question.

                                   TWELFTH DEFENSE

       To the extent that Plaintiff failed to exhaust internal or external administrative

remedies, those claims are barred and due to be summarily dismissed.

                                THIRTEENTH DEFENSE

       Any and all actions taken with respect to Plaintiff were not based upon any

prohibited factors or upon any unlawful or impermissible reasons, but were taken in

good faith and for legitimate reasons and based upon legitimate nondiscriminatory

reasons.

                                FOURTEENTH DEFENSE

       Answering defendants are protected by reasonable administrative policies in

place that bar the alleged violation(s).

                                  FIFTEENTH DEFENSE

       Answering defendant reserves the right to add additional defenses as the same

become known during the course of discovery of this cause.




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       And now, having answered the Complaint and made affirmative defenses

thereto, Sheriff Billy McGee and Forrest County, Mississippi request that this matter be

dismissed at the cost of the Plaintiff.

DATE:         December 3, 2018.

                                               Respectfully submitted,

                                               FORREST COUNTY, MISSISSIPPI
                                               AND SHERIFF BILLY MCGEE

                                               BY:    /s/William R. Allen
                                                      One of Their Attorneys



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                                      CERTIFICATE

       I, the undersigned of Allen, Allen, Breeland & Allen, PLLC, one of the attorneys for

defendants, Sheriff Billy McGee and Forrest County, Mississippi, hereby certify that I have

filed this day with the Clerk of Court via CM/ECF a copy of the foregoing Answer to

Plaintiff’s Complaint, which gave notice of the same to the following counsel of record:

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              This the 3rd day of December, 2018.

                                                         /s/William R. Allen
                                                         OF COUNSEL
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